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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


DONALD J. TRUMP; THE TRUMP
ORGANIZATION, INC.; TRUMP
ORGANIZATION LLC; THE TRUMP
CORPORATION; DJT HOLDINGS LLC;
THE DONALD J. TRUMP REVOCABLE
TRUST; and TRUMP OLD POST OFFICE
LLC,

                       Plaintiffs,

       v.                                                   Case No. 1:19-cv-01136-APM

MAZARS USA LLP,

                       Defendant,

COMMITTEE ON OVERSIGHT AND
REFORM OF THE U.S. HOUSE OF
REPRESENTATIVES,

                       Intervenor-Defendant.


                                     JOINT STATUS REPORT

Statement of Plaintiffs’ Position

       Following this Court’s June 15 status conference, the Plaintiffs conferred with their

clients and engaged in several rounds of negotiations with the Committee about ways in which

this dispute could be resolved. Plaintiffs’ proposals included a willingness to make a significant

portion of the documents sought by the Committee available to staff and/or members with

reasonable terms (which they remain willing to further negotiate) that would ensure the elaborate

and voluminous financial details sought by the Committee would not be used for improper

purposes. Plaintiffs made this offer despite their strong conviction that these requests go far
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beyond the limits of Congress’s subpoena power, as set forth in the Supreme Court’s

recent decision in this case.

        The Committee claims that an impasse exists, but in Plaintiffs’ view that is true only

because of the Committee’s refusal to pursue an actual compromise and to cut off negotiations as

quickly as possible. The Committee also accuses Plaintiffs of seeking only delay, but Plaintiffs

have responded diligently throughout this week, and have offered to continue negotiating and to

mediate—both before the hearing or even while this case is argued and a decision is pending (if

the Court permits). To the extent the Committee is frustrated with the time its efforts to enforce

this subpoena have taken, that is hardly Plaintiffs’ fault. It was the Committee’s decision to

submit the first ever subpoena for a President’s private papers. This unprecedented case has been

litigated in a timely fashion, largely upon an agreed-upon and expedited schedule. The Supreme

Court ultimately rejected the Committee’s broad assertion of power, and remanded this case

(without expediting the mandate, despite the Committee’s request). Unlike in other related

litigation, the Committee here declined to take any step to narrow its subpoena on remand, and

the Committee continues to claim it needs tens of thousands of pages of documents to

reconstruct a detailed financial history of Plaintiffs (but no other current or former Presidents) for

broad legislation of dubious constitutionality.

        Courts in the past have ordered parties to continue to negotiate, even when the parties

believed significant differences remained. See, e.g., U. S. v. American Tel. & Tel. Co., 567 F.2d

121, 122 (D.C. Cir. 1977). If the Court wishes to do so here, or discuss further with the parties

the state of their settlement negotiations, Plaintiffs are willing to participate.




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Statement of Intervenor-Defendant’s Position

       Pursuant to this Court’s instructions during the June 15, 2021 status conference, the

parties have made serious efforts to narrow their dispute and to determine whether an

accommodation is possible. Through these exchanges, it has become clear that the parties

remain at an impasse with respect to key categories of documents. The Committee thus urges

the Court to proceed with the summary judgment hearing on July 1, and to decide this matter as

quickly as possible. Moreover, for the reasons described below, the Committee does not believe

that any attempt at mediation would be fruitful.

       During the status conference, this Court instructed the parties to attempt to negotiate a

resolution, including by “devis[ing] a list of what they want, what are the core documents, over

what period of time, what really matters here, and what is it that they’re prepared to give on.”

6/15/21 Hrg. Tr. 23. Both sides have followed this Court’s instruction and these exchanges have

confirmed that Plaintiffs are unwilling to agree to production of key categories of documents that

are necessary to satisfy the Committee’s legislative purposes.

       The Committee identified categories of documents in the subpoena that must be produced

for any settlement to be viable. Plaintiffs continue to dispute the Committee’s need for those

categories of documents. Plaintiffs prefer delay, including a potentially lengthy mediation

process, but no amount of time will resolve their refusal to agree to produce documents that the

Committee must have to satisfy its legislative needs.

       The parties made some progress in negotiating an agreement for a narrow set of

documents. But that limited progress only highlights how far apart the parties remain—despite

their good-faith efforts to accommodate—with respect to core items in the subpoena. Plaintiffs

contend that they made reasonable compromise offers, but in the Committee’s view (which was



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conveyed to Plaintiffs) those offers as a practical matter would amount to a nearly complete

blockade of the Committee’s inquiry. Indeed, Plaintiffs propose that zero documents would be

produced. They propose to share a limited set of documents in camera, but to severely restrict

the Committee’s use of any information obtained. Rather than ensuring that the documents

“would not be used for improper purposes,” these restrictions would make it impossible for the

Committee to use the information in an effective manner to craft and pass legislation. The main

point that the past week confirmed is that the parties are nowhere close to each other because

they have a fundamental disagreement about what the law provides. Because the parties are at

an impasse regarding the core documents essential to the Committee’s investigation, it would not

be fruitful to engage in mediation involving only a very limited set of documents.

       There is no discernible path to a negotiated resolution, and the Committee respectfully

requests that the Court hold the summary judgment hearing on July 1. The Committee issued

this subpoena more than two years ago and continues to need the subpoenaed information for its

ongoing conflicts-of-interest investigation. Plaintiffs have an interest in delay—which will

continue to shield the Mazars documents from production—but the Court should not allow the

former President to run out the clock not only on one Congress, but on two Congresses. The

Committee remains willing to make good-faith efforts at accommodation as the litigation

proceeds, but there is no reason to stall resolution through litigation for a negotiation process that

is exceedingly unlikely to succeed.

                                               Respectfully submitted,

                                               /s/ Douglas N. Letter
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June 23, 2021


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                                CERTIFICATE OF SERVICE

       I certify that on June 23, 2021, I caused the foregoing document to be filed via this

Court’s CM/ECF system, which I understand caused service on all registered parties.



                                                     /s/ Douglas N. Letter
                                                     Douglas N. Letter
